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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :       EX PARTE AND UNDER SEAL
                                              :
             v.                               :      Criminal Case No. 21-582 (CRC)
                                              :
MICHAEL A. SUSSMANN,                          :
                                              :
                       Defendant.             :


                      UNITED STATES’ EX PARTE APPLICATION
                    TO COMPEL TESTIMONY FROM LAURA SEAGO

       The United States of America, by and through Special Counsel John H. Durham,

respectfully requests that this Court, pursuant to the provisions of 18 U.S.C. § 6001 et seq., enter

an order directing Laura Seago to testify at the above-captioned trial. A proposed order is attached.

In support of this request, the Government states the following:

       1.      On or about March 15, 2022, the Government served a subpoena for Ms. Seago to

appear and give testimony in the above-captioned trial.

       2.      Ms. Seago is represented by Holly Pierson, Esq who informed the Government

that her client will invoke her Fifth Amendment privilege against self-incrimination absent a

court order of immunity compelling her to testify at trial.

       3.      Accordingly, the Special Counsel is applying for an order compelling Ms. Seago

to testify in the above-captioned trial. The statutory scheme for such an application is found at

18 U.S.C. §§ 6001–6005. Under this statute, when a United States Attorney believes that a

witness’s testimony or information that may be necessary to the public interest is likely to be

withheld under an assertion of the privilege against self-incrimination, he or she may, with the

approval of the Attorney General (or one of the authorized designees), apply to a district court
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for an order compelling the witness to testify or to provide other information. See id. § 6003(b);

In re Sealed Case, 791 F.2d 179, 181 (D.C. Cir. 1986). Upon such application, the statute

provides that the court “shall issue . . . an order requiring” the witness to testify or provide other

information which she refuses to give because of her privilege against self-incrimination. 18

U.S.C. § 6003(a) (emphasis added). See also id. (“district courts are without discretion to deny a

request by a United States Attorney for an order compelling testimony as long as that request

complies with the jurisdictional and procedural requirements of the law.”).

       4.      The statute further provides that no testimony or other information so compelled

(or any information directly or indirectly derived from such testimony or other information) may

be used against the witness in any criminal case, except a prosecution for perjury, giving a false

statement, or otherwise failing to comply with the order. See id. § 6002. Considering that the

immunity provided under the statute is coextensive with the privilege against self-incrimination,

the Supreme Court and Courts of Appeals have repeatedly instructed that the immunity provided

in Section 6002 provides full constitutional protection for witnesses and therefore leaves them no

alternative but to testify. See In re Sealed Case, 791 F.2d at 181 (citing Kastigar v. United

States, 406 U.S. 441, 453 (1972)) (other citations omitted). Given such precedent and the

wording of the statute, “district courts are without discretion to deny a request by a United States

Attorney for an order compelling testimony as long as that request complies with the

jurisdictional and procedural requirements of the law.” Id. (citations omitted).

       8.      In accordance with 18 U.S.C. § 6003(b)(2), it is the judgment of the Special

Counsel that Ms. Seago has refused or is likely to refuse to testify or provide other information on

the basis of her claimed privilege against self-incrimination. In accordance with 18 U.S.C.

§ 6003(b)(1), it is the judgment of the Special Counsel that the testimony or other information
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from Ms. Seago is necessary to the public interest. The Special Counsel represents that this

application has been approved by Deputy Assistant Attorney General Jennifer A.H. Hodge of the

Department of Justice’s Criminal Division, pursuant to the authority vested by 18 U.S.C. § 6003

and 28 C.F.R. § 0.175(a).

       WHEREFORE, the United States of America respectfully requests that the Court order Ms.

Seago to give testimony or provide other information which she refuses to give or to provide on

the basis of her privilege against self-incrimination as to all matters about which she might be

interrogated at trial in the above-captioned trial; and that no testimony or other information

compelled under the order (or any information directly or indirectly derived from such testimony

or other information) may be used against Ms. Seago in any criminal case except a prosecution for

perjury, giving a false statement, or otherwise failing to comply with the order.

                                              Respectfully submitted,

                                              JOHN H. DURHAM
                                              Special Counsel

                                              By:

                                               /s/ Brittain Shaw
                                              Jonathan E. Algor
                                              Andrew DeFilippis
                                              Michael T. Keilty
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April 19, 2022
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                        :       EX PARTE AND UNDER SEAL
                                                :
              v.                                :      Criminal Case No. 21-582 (CRC)
                                                :
MICHAEL A. SUSSMANN,                            :
                                                :
                        Defendant.              :


                                             ORDER

        On application of the Special Counsel requesting that the Court issue an Order pursuant

to the provisions of Title 18, United States Code § 6001, et. seq., compelling testimony;

        And it appearing to the satisfaction of the Court that:

1.      The United States wishes to call Laura Seago as a witness in the above-captioned trial;

2.      In the judgment of the Special Counsel, Ms. Seago has refused or is likely to refuse to

testify or provide other information on the basis of her privilege against self-incrimination;

3.      In the judgment of the Special Counsel, the testimony or other information from Ms. Seago

may be necessary to the public interest; and

4.      The aforesaid application filed herein has been made with the approval of Deputy Assistant

Attorney General Jennifer A.H. Hodge of the Department of Justice’s Criminal Division, pursuant

to the authority vested by 18 U.S.C. § 6003 and 28 C.F.R. § 0.175(a).

        NOW THEREFORE, IT IS ORDERED pursuant to 18 U.S.C. § 6002:

        THAT the witness, Laura Seago, give testimony or provide other information which she

refuses to give or to provide on the basis of her privilege against self-incrimination as to all matters

about which she might be interrogated at trial and any proceedings ancillary thereto;
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       THAT no testimony or other information compelled under this Order (or any information

directly or indirectly derived from such testimony or other information) may be used against Laura

Seago in any criminal case, except a prosecution for perjury, giving a false statement, or otherwise

failing to comply with this Order;

       THAT the government’s Ex Parte Application for a Court Order to Compel Testimony

from Laura Seago and this Order shall be sealed by the Clerk of the Court until further order of

this Court, except that the Government may disclose the existence and/or contents of this Order to

Laura Seago and her counsel;

       THAT the Clerk of the Court shall provide to the Special Counsel’s Office certified copies

of this Order upon request.

       SO ORDERED.

                                      _______________________________
                                      CHRISTOPHER R. COOPER
                                      United States District Judge
                                      District of Columbia



Dated: April ____, 2022
